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a sets series

Comp|aint Abidv Googie gm §pr y
i.i S. Distnct Court for the lvtiddle Districtof l\lortri Carolina `“”i":t pit if l$

Plaintiti: Shajar Abid

 

Detendant: Google lnc.
1600 Arnphitheatre Parkway
l\f|ountain Vievv, CA 940-43

usA lil"l€,\)i':‘§§;i

Jurisdictlon belongs to the US courts in North Caro|ina since as a l\lorth Carolina resident1 an
Arnerlcan citizens constitutional rights are being violatedl

l am an indepedent researcher inventor and entrepreneur Also the son of a chemistry professor
(F’h.d NCSU 'iQQt). lv'|ost recently l Was Wori<ing as a senior engineer for lBlvl. l left to Worl< on
and solve the problem ot cancer, and this mlan 2017 l tiled a patent "a colloidal suspension for
the healing of various cancers". Tl‘ien l proceeded to build a Website. WWW.mightyhoney.org

The idea Was that l could find people looking for cancer information and help them Witn this
particular knowledgel Whicn in fact is based on prophetic medicine1 or arabic herbal medicine if
you like.

First l ran ads on google With common cancer related Words, my ad, originally said "divine cure
for cancer". An astonishing claim, but eiss neither the NlH Wouid give me an opportunity to
verity by government standards since their feeble minded protocoi, stipulates "oniy one puriiied
chemica|". This is the bestion ot state science stupidity, compared to the 50 + natural
compounds in l\/ligntyl-loneym.

Anyways, after one Weel< ot ads running on google, at $10 a day budget l received 500 visitors1
and 5 emai|s. l\lo actual sales but a $50 dollar bill.

Tnen iast Weekend on Friday ivlarcn 31 v 2017, i received an entail that my site had been
suspended it vvas against google policies as they have details about selling pharmaceuticals
etcs..

l said ol<, l Will call end tell ibem, i studied the google rules, tell me what to change

So the tirst girl l talked to gave a half a dozen modifications to do, including take out “divine cure
for cancer“, Which is my sincerely held religious belief that it is.

But vvhat she doesn‘t know is l have done an intensive pharmacognosy study as well other in
depth proprietary researcl'il

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l feel this was the first violation, obstructing my tsi amendment rights, however the kind and
noble judge interprets

l also have not been allowed to advertise in the l\lew England Journal of l\/ledicine, they stated
upfront, "only big pharma, not you".

Also my press release was sguelched and not distributed another first amendment violation
(treedom of press).

i\/ly argument is simple, when l made the requested changes, t was told l could submit for a
"review", when l called back after making the initial changes specified by the first glrl, a different
agent directed to me a pitch, where he will expand my keywords etc,.

and sent me an small and said to agree

l replied back, he said "this will help" and he explained how. But he told me it will be two days for
the escalation, then he said he tried to escalate it but now the "policy director" said no. The
"policy director“ overstepped and mentioned something about my business model, and then
said i was banned

Then l asked I made all the changes the first person said, why is it banned now, he said he is
just relaying the word, i said is there anybody else to talk to?, he said he is the senior guy, l‘been

there the longest".

l said, who has an interest in these cancer keywords, does pharma pay you guys? he
mentioned something it is their policy or partners something to that effect

t have honey spice and herb, which are all "generally recognized as safe" safe under US
l`~'ederal law. The first girl asked me to remove this line from my site too, as well as the scientitic
information and some medical terminology

lilly argument is twofold

First my first amendment rights were suppressed whether as religious freedom or freedom of
speech

Demanding i remove "divine cure for cancer", when that is my sincere religious beliei.
l even complied and called it a natural elixir instead but that wasn*t enough
'l"hey said, l couldn‘t say, "lf you have cancer, then ..."

\Nhy not? l am trying to help cancer patients oniy.

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lvly philosophy of medicine is based on Moses‘s wisdom
One time l\lloses got sicl<, so he prayed to ch for guidance
God guided him to a plant So he went and ate it. Then he was cured

Sometime later lvloses got sick again, and he went to the plant and ate it, but this time he didn't
get cured

So he prayed to God again for guidance and God spoke to him saying, "l'he first time you came
to |‘vle, the second time you went to the plant'.

| arn combining a systems biology empirical approach based on prophetic medicine

His medicine (peace and blessings be upon him) is not like the medicine of the physicians for
the medicine of the Prophet (peace and blessings be upon him) is certain, definitive emanating
from (divine) revelation the lantern of prophethood, and perfection of reason As for the

medicine of others most cf it is conjecture1 presumptions and experimentation

So we have my constitutional rights being violated, whatever pecuniary interest of mine, l
actually run mightyhoney.org as a devotional service

42 U.S. Code § 1983 - Civil action for deprivation of rights

Every person who, under color of any statute ordinance regulation custom, or usage, ct any
State or “l“erritory or the District of Coiumbia, subjects or causes to be subjected any citizen of
the l.lnited States or other person within the jurisdiction thereof to the deprivation of any rights,
privileges or immunities secured by the Constitution and laws, shall be liable to the party injured
in an action at law, suit in equity, or other proper proceeding for redress

or even under the spirit of "l"itle \/il of the Civi| Rights Act of 1964
where l should be treated equally and fairly in business dealings

but my main argument and point of contention is the public interest by banning me, has the
public interest been severely hurt’?

this negligence caused by ignorance and incompetence of the adwords department?

lt l have an affordable solution that uses only honey herb and spice and it is much more
effective with no adverse effects

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Don't the American people deserve to i<now? i\iiy ciients are dying people, in all likelihood have
already been poisoned and/or inadiated l And now l have to fill out all these forms to come ask
for the courts help to uphold my rights, and the public interest

lt is for the wise judge to decide to investigate who is controliing these cancer keywords, and
what connections are between the pharma and the knowiedge sources... l am sure there are
conspicuous collusions here 'i°hat should be looked into under the antitrust laws

l seek the foltowing relief: $10 billion, for violating rny first amendment rights, for loss of business
and pain and suffering as well as an authorization to be allowed on google for when people
search for the cure for cancer. Aiso they sent me 88$ bill demanding payment after forcing me
to cancel my account please ask them what tor? t wouid like that nullified + court costs.

l will happily provide scientific knowledge to your honor.
With gratitude and respect
Shajar Abid

5317 Roshni Ter

Nicleansville, NC, 27301
USA

 

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April Sth 2017

*aiso years ago l made many transit ap,os to find out what time the has comes7 for many year
Google paid me royalties i ended giving up most of the apps for tree, but then they banned me
from the android market When l had a legitimate claim, that l used the logo of the transit
company as “fair use" under copyright iaws, l had in fact made that technology first before the
bus companies and it was a de novo use of a picture file on wikipedia.

